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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION


  NAVBLAZER, LLC,

                Apple                                    Case No. 6:20-cv-89


                v.                                       JURY TRIAL DEMANDED


  SAMSUNG ELECTRONICS CO.,
  LTD (A KOREAN COMPANY) AND
  SAMSUNG ELECTRONICS
  AMERICA, INC.,

                Defendants


                     ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       NavBlazer, LLC (“NavBlazer”) hereby files this Original Complaint for Patent Infringement

against Samsung Electronics Co., LTD (a Korean Company) (“Samsung Electronics”) and Samsung

Electronics America, Inc. (“Samsung Electronics America”), (collectively, “Samsung”), and alleges,

upon information and belief, as follows:

                                           THE PARTIES

1. NavBlazer is a limited liability company organized and existing under the laws of the State of

   Florida with its principal place of business at 600 S. Dixie Highway, Suite 605, West Palm Beach,

   Florida 33401.

2. Upon information and belief, Defendant Samsung Electronics Co., LTD is a company organized and

   existing under the laws of the Republic of Korea with its principal offices at 250, 2-ga, Taepyong-ro,

   Jung-gu, Seoul, 100-742, South Korea. Samsung Electronics Co., LTD may be served with process
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   by serving its wholly owned subsidiary, Samsung Electronics America, Inc., via its registered agent

   CT Corporation System at 1999 Bryan St., Suite 900, Dallas, TX 75201-3136.

3. Upon information and belief, Samsung Electronics America, Inc. is a company with a principal place

   of business at 105 Challenger Road, 6th Floor, Ridgefield Park, New Jersey 07660. Samsung

   Electronics America, Inc. may be served through its registered agent, CT Corporation System, at

   1999 Bryan St., Suite 900, Dallas, TX 75201-3136.



                                      JURISDICTION AND VENUE

4. This Court has subject matter jurisdiction over this case under 28 U.S.C. §§ 1331, 1332, 1338, and

   1367.

5. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b).

6. This Court has personal jurisdiction over Samsung. Samsung has continuous and systematic business

   contacts with the state of Texas. Samsung, directly or through subsidiaries or intermediaries

   (including distributors, retailers, and others), conducts its business extensively throughout Texas, by

   shipping, distributing, making, using, offering for sale, selling, and advertising (including the

   provision of interactive web pages) its products and services in the state of Texas and the Western

   District of Texas. Samsung, directly and through subsidiaries or intermediaries (including

   distributors, retailers, and others), has purposefully and voluntarily placed infringing products and

   services into this district and into the stream of commerce with the intention and expectation that

   they will be purchased and used by consumers in this district. Samsung has offered and sold and

   continues to offer and sell these infringing products and services in this district, including at physical

   Samsung stores located within this district. Samsung and its customers also commit additional acts

   of direct infringement in this district with respect to each asserted patent through their infringing use




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   of the accused devices, including Samsung’s servers, in this district, including when Samsung and its

   customers put the accused devices into service and receive a benefit, and Samsung is liable for these

   additional acts of direct infringement and indirect infringement in this district. Samsung has

   committed acts of infringement, both direct and indirect, in this district with respect to each asserted

   patent and has a regular and established place of business in this judicial district. For example,

   Samsung Electronics America maintains regular and established place offices in the Western District

   of Texas, including at 12100 Samsung Blvd, Austin, Texas 78754 and 2800 Wells Branch Pkwy,

   Austin, Texas 78728.      Further, upon information and belief, Samsung Electronics directs and

   controls the actions of Samsung Electronics America such that it too maintains regular and

   established offices in the Western District of Texas, including at 12100 Samsung Blvd, Austin,

   Texas 78754, and 2800 Wells Branch Pkwy, Austin, Texas 78728. Samsung Electronics also owns

   and operates a manufacturing facility in Austin, Texas. In addition, Samsung Electronics, and

   Samsung Electronics America have placed or contributed to placing infringing products into the

   stream of commerce via an established distribution channel knowing or understanding that such

   products would be sold and used in the United States, including in the Western District of Texas. On

   information and belief, Samsung Electronics and Samsung Electronics America also have each

   derived substantial revenue from infringing acts in the Western District of Texas, including from the

   sale and use of infringing products. Samsung Electronics America has maintained regular and

   established places of business at 12100 Samsung Blvd, Austin, Texas 78754 and 2800 Wells Branch

   Pkwy, Austin, Texas 78728.




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                               U.S. PATENT NOS. 9,075,136 AND 9,885,782

7. NavBlazer is the owner, by assignment, of U.S. Patent No. 9,075,136 and 9,885,782, each entitled

   “VEHICLE       OPERATOR         AND/OR       OCCUPANT        INFORMATION          APPARATUS           AND

   METHOD” (hereinafter collectively referred to as “the Patents-in-Suit”).

8. The patent application that issued as the ’782 Patent is a continuation application of U.S. Patent

   Application Ser. No. 09/259,957, filed March 1, 1999, and entitled “VEHICLE OPERATOR

   AND/OR OCCUPANT INFORMATION APPARATUS AND METHOD”, now U.S. Pat. No.

   9,075,136. U.S. Patent Application Ser. No. 09/259,957, filed March 1, 1999, claims priority to U.S.

   Provisional Patent Application Ser. No. 60/076,800, filed March 4, 1998, and entitled “VEHICLE

   OPERATOR AND/OR OCCUPANT INFORMATION APPARATUS AND METHOD.”

9. The Patents-in-Suit are valid, enforceable, and were duly issued in full compliance with Title 35 of

   the United States Code.

10. The inventions described and claimed in the Patents-in-Suit were invented by Raymond Anthony

   Joao.

11. The priority date of each of the Patents-in-Suit is at least as early as March 4, 1998.

12. The Patents-in-Suit relate generally to an apparatus and method for providing a user with one or

   more possible travel routes to a destination, as well as additional information regarding the one or

   more possible travel routes, such as traffic conditions, road conditions, traffic flow, weather

   information and/or other useful information.

13. During prosecution of the ’782 Patent, the patent examiner considered whether the claims of the

   ’782 Patent were eligible under 35 USC §101 in view of the United States Supreme Court’s decision

   in Alice. The patent examiner found that the claims are in fact patent eligible under 35 USC §101

   because all pending claims are directed to patent-eligible subject matter, none of the pending claims




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   are directed to an abstract idea and there would be no preemption of the abstract idea or the field of

   the abstract idea.



                                         SAMSUNG’S PRODUCTS


14. Upon information and belief, Samsung sells, advertises, offers for sale, uses, or otherwise provides

   mobile devices that utilize the Android operating system including, but not necessarily limited to, the

   “Galaxy Fold,” “Galaxy 5G,” “Galaxy S,” “Galaxy Note,” “Galaxy A,” “Galaxy M,” “Galaxy

   Grand,” “Galaxy On,” “Galaxy C” and “Galaxy J” series of mobile devices (“Accused

   Instrumentalities”) that infringe the Patents-in Suit.

                                                  COUNT I

                                (Infringement of U.S. Patent No. 9,885,782)


15. Plaintiff incorporates the above paragraphs by reference.

16. Samsung has been on notice of the ’782 Patent at least as early as the date it received service of this

   Original Complaint.

17. Upon information and belief, Samsung has directly infringed and continues to directly infringe at

   least Claims 1, 2 and 7 of the ’782 Patent by making, using, importing, selling, and/or, offering for

   sale the Accused Instrumentalities.

18. Samsung, with knowledge of the ’782 Patent, also infringes at least Claims 1, 2 and 7 of the ’782

   Patent by inducing others to infringe the ’782 Patent. In particular, Samsung intends to induce its

   customers to infringe the ’782 Patent by encouraging its customers to use the Accused

   Instrumentalities in a manner that results in infringement.

19. Samsung also induces others, including its customers, to infringe at least Claims 1, 2 and 7 of the

   ’782 Patent by providing technical support for the use of the Accused Instrumentalities.


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20. Upon information and belief, at all times Samsung owns and controls the operation of the Accused

      Instrumentalities in accordance with an end user license agreement.

21. By way of example, the Accused Instrumentalities infringe Claim 1 of the ’782 Patent by use of a

      global positioning device, wherein the global positioning device determines a location of the

      apparatus or a location of a vehicle. Samsung’s “Galaxy S10” is a representative example of the

      Accused Instrumentalities and is a mobile device (apparatus). See Figure 1 below, which is a

      screenshot from Samsung’s website showing a picture of the Galaxy S10.




                                         Figure 11 - Samsung’s Galaxy S10



22. The Galaxy S10 uses a global positioning device, wherein the global positioning device determines a

      location of the apparatus or a location of a vehicle.

23. See Figure 2 below, which is a screenshot from Samsung’s website indicating the Galaxy S10 utilizes

      GPS location technology. A GPS device is necessarily required to utilize GPS location technology.


1
    https://www.samsung.com/us/mobile/phones/galaxy-s/galaxy-s10-plus-512gb-unlocked-sm-g975uckexaa/#specs - 9/14/19


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      Further, it is well known that GPS location technology determines a location of the apparatus on which

      the GPS device is installed or located.




                                             Figure 22 - Galaxy S10 Specs



24. See also Figure 3 below, which is an excerpt from the Galaxy S10 User’s Manual, indicating that the

      Galaxy S10 is loaded with the Google Maps application.




2
    https://www.samsung.com/us/mobile/phones/galaxy-s/galaxy-s10-plus-512gb-unlocked-sm-g975uckexaa/#specs - 9/14/19


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                                   Apps



                                          Maps
                                          Get directions and other location-based information. You must enable location
                                          services to use Google Maps. For more information, see Location on page 134.

                                          Visit support.google.com/maps to learn more.


                                          Photos
                                          Store and back up your photos and videos automatically to your Google Account
                                          with Google Photos™.

                                          Visit support.google.com/photos to learn more.


                                          Play Movies & TV
                                          Watch movies and TV shows purchased from Google Play. You can also view
                                          videos saved on your device.

                                          Visit play.google.com/store/movies to learn more.


                                          Play Music
                                          Play music and audio files on your device.

                                          Visit support.google.com/music to learn more.


                                          Play Store
                                          Find new apps, movies and TV shows, music, books, magazines, and games in
                                          the Google Play™ store.

                                          Visit support.google.com/play to learn more.


                                          YouTube
                                          Watch and upload YouTube™ videos right from your device.

                                          Visit support.google.com/youtube to learn more.


                                                                             97




                              Figure 33 - Page 96 of the Galaxy S10 User’s Manual



25. See also Figure 4 below, which is a screenshot from Google’s website showing a mock up of the

      navigation display for Google Maps. The blue arrow indicates the current location of the device.




3
    Samsung Galaxy S10e|S10|S10+ User Manual – page 96


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                                    Figure 44 - Google Maps navigation display


26. The Galaxy S10 uses a processing device, wherein the processing device processes information
      regarding the location of the apparatus or the location of the vehicle and information regarding a
      destination, wherein the processing device determines or identifies a travel route to the destination on
      or along a road, a roadway, a highway, a parkway or an expressway.
27. See Figure 5 below, which is a screenshot of Samsung’s website explaining that “A more powerful
      processor and up to 12 GB of RAM means better performance with less energy.”




                                        Figure 55 - Galaxy S10 processor


4
    https://www.google.com/maps/about/#!#jump-link - 9/14/19
5
    https://www.samsung.com/us/mobile/galaxy-s10/performance/?fromHL=true - 9/14/19


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28. The processing device used in the Galaxy S10 is necessarily used to process the information regarding

   the location of the apparatus or vehicle and the destination, as well as to calculate the travel route to

   the destination using the Google Maps application that is included with the Galaxy S10.

29. See also Figure 4, reproduced below, which is a screenshot from Google’s website showing a mock

   up of the navigation display for Google Maps, which is included with the Galaxy S10. The blue arrow

   indicates the current location of the device and the blue line identifies the route to the destination along

   a road. Further, “12min” indicates the time remaining to the destination, and “5.1 mi • 12:42 PM”

   indicates the distance to the destination in miles and estimated time of arrival at the destination.




                                  Figure 4 - Google Maps navigation display

30. The Galaxy S10 uses a display device or a speaker, wherein the display device displays information

   regarding the travel route or the speaker provides audio information regarding the travel route.

31. See Figure 1, reproduced below, showing the display of the Galaxy S10.




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                                   Figure 1 - Samsung’s Galaxy S10

32. See also Figure 4, reproduced below, which is a screenshot from Google’s website showing a mock

   up of the navigation display for Google Maps, which is included with the Galaxy S10. The blue arrow

   indicates the current location of the device and the blue line identifies the route to the destination along

   a road. Further, “12min” indicates the time remaining to the destination, and “5.1 mi • 12:42 PM”

   indicates the distance to the destination in miles and estimated time of arrival at the destination.




                              Figure 4 - Google Maps navigation display




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33. The Galaxy S10 uses a receiver, wherein the receiver receives traffic information or information

      regarding a traffic condition.

34. See Figure 6 below, which is a screenshot from Google’s website showing a mock up of the navigation

      display for Google Maps, which is included with the Galaxy S10. Google Maps is described as

      providing “Real-time traffic updates” and the mock up of the navigation display shows traffic

      information being displayed at the bottom of the device display. The device running the Google Maps

      application, such as the Galaxy S10, must necessarily include a receiver for receiving real-time traffic

      information.




                                   Figure 66 - Google Maps navigation display

35. The Galaxy S10 provides the traffic information or the information regarding a traffic condition via

      the display device or via the speaker.

36. See Figure 1, reproduced below, showing the display of the Galaxy S10.




6
    https://www.google.com/maps/about/#!#jump-link - 9/14/19


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                                  Figure 1 - Samsung’s Galaxy S10


37. See also Figure 6, reproduced below, which is a screenshot from Google’s website showing a mock up

   of the navigation display for Google Maps, which is included with the Galaxy S10. Google Maps is

   described as providing “Real-time traffic updates” and the mock up of the navigation display shows

   traffic information being displayed at the bottom of the device display.




                             Figure 6 - Google Maps navigation display




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38. By way of another example, the Accused Instrumentalities infringe Claim 7 of the ’782 Patent by use

   of an apparatus that “receives maintenance information associated with the travel route or maintenance

   information associated with a second travel route to the destination, and further wherein the apparatus

   provides the maintenance information associated with the travel route or the maintenance information

   associated with the second travel route via the display device or the speaker.”

39. See Figure 7 below, which is a screenshot from Google’s website explaining the meaning of various

   visual symbols used in the Google Maps application. The visual symbols include symbols indication

   “road closures” and “construction,” both of which can be considered “maintenance information.”

   Figure 7 also indicates that “[f]or road closures, you’ll find a dotted red line where the road is closed.”

   These symbols are visually displayed on the map that is displayed on the display device of the

   Accused Instrumentalities.




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                          Figure 77 - Visual Symbols in the Google Maps Application



                                  (Infringement of U.S. Patent No. 9,075,136)


      40. Plaintiff incorporates the above paragraphs by reference.

      41. Samsung has been on notice of the ’136 Patent at least as early as the date it received service of

          this Original Complaint.

      42. Upon information and belief, Samsung has infringed and continues to infringe at least Claims 55,

          56, 61, 66, 69-71, 76, 79, 82, 85, 86, 88, 89, 91, 94, 97 and 98 of the ’136 Patent by making,

          using, importing, selling, and/or, offering for sale the Accused Instrumentalities.

7
    https://support.google.com/maps/answer/3092439?hl=en&ref_topic=3093390 – 2/5/20


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   43. Samsung, with knowledge of the ’136 Patent, infringes at least Claims 55, 56, 61, 66, 69-71, 76,

      79, 82, 85, 86, 88, 89, 91, 94, 97 and 98 of the ’136 Patent by inducing others to infringe at least

      Claims 55, 56, 61, 66, 69-71, 76, 79, 82, 85, 86, 88, 89, 91, 94, 97 and 98 of the ’136 Patent. In

      particular, Samsung intends to induce its customers to infringe at least Claims 55, 56, 61, 66, 69-

      71, 76, 79, 82, 85, 86, 88, 89, 91, 94, 97 and 98 of the ’136 Patent by encouraging its customers

      to use the Accused Instrumentalities in a manner that results in infringement.

   44. Samsung also induces others, including its customers, to infringe at least Claims 55, 56, 61, 66,

      69-71, 76, 79, 82, 85, 86, 88, 89, 91, 94, 97 and 98 of the ’136 Patent by providing technical

      support for the use of the Accused Instrumentalities.

   45. Upon information and belief, at all times Samsung owns and controls the operation of the

      Accused Instrumentalities in accordance with an end user license agreement.

   46. By way of example, the Accused Instrumentalities infringe Claim 55 of the ’136 Patent by use of

      a global positioning device, wherein the global positioning device determines a location of the

      apparatus or a location of a vehicle. Samsung’s “Galaxy S10” is a representative example of the

      Accused Instrumentalities and is a mobile device (apparatus). See Figure 1, reproduced below,

      which is a screenshot from Samsung’s website showing a picture of the Galaxy S10.




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                                    Figure 1 - Samsung’s Galaxy S10

47. The Galaxy S10 uses a global positioning device, wherein the global positioning device determines a

   position or a location of a vehicle.

48. See Figure 2, reproduced below, which is a screenshot from Samsung’s website indicating the Galaxy

   S10 utilizes GPS location technology. A GPS device is necessarily required to utilize GPS location

   technology. Further, it is well known that GPS location technology determines a location of the apparatus

   on which the GPS device is installed or located.




                                          Figure 2 - Galaxy S10 Specs

49. See also Figure 3, reproduced below, which is an excerpt from the Galaxy S10 User’s Manual,

   indicating that the Galaxy S10 is loaded with the Google Maps application.



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                              Apps



                                     Maps
                                     Get directions and other location-based information. You must enable location
                                     services to use Google Maps. For more information, see Location on page 134.

                                     Visit support.google.com/maps to learn more.


                                     Photos
                                     Store and back up your photos and videos automatically to your Google Account
                                     with Google Photos™.

                                     Visit support.google.com/photos to learn more.


                                     Play Movies & TV
                                     Watch movies and TV shows purchased from Google Play. You can also view
                                     videos saved on your device.

                                     Visit play.google.com/store/movies to learn more.


                                     Play Music
                                     Play music and audio files on your device.

                                     Visit support.google.com/music to learn more.


                                     Play Store
                                     Find new apps, movies and TV shows, music, books, magazines, and games in
                                     the Google Play™ store.

                                     Visit support.google.com/play to learn more.


                                     YouTube
                                     Watch and upload YouTube™ videos right from your device.

                                     Visit support.google.com/youtube to learn more.


                                                                        97




                         Figure 3 - Page 96 of the Galaxy S10 User’s Manual



50. See also Figure 4 below, which is a screenshot from Google’s website showing a mock up of the

   navigation display for Google Maps. The blue arrow indicates the current location of the device.




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                               Figure 4 - Google Maps navigation display


51. The Galaxy S10 uses a processing device, wherein the processing device processes information

   regarding the position or the location of the vehicle and information regarding a destination to which

   the vehicle can travel on at least one of a road, a roadway, a highway, a parkway, and an expressway,

   and further wherein the processing device determines or identifies a travel route to the destination.

52. See Figure 5, reproduced below, which is a screenshot of Samsung’s website explaining that “A more

   powerful processor and up to 12 GB of RAM means better performance with less energy.”




                                   Figure 5 - Galaxy S10 processor

53. The processing device used in the Galaxy S10 is necessarily used to process the information regarding




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   the location of the apparatus or vehicle and the destination, as well as to calculate the travel route to

   the destination using the Google Maps application that is included with the Galaxy S10.

54. See also Figure 4, reproduced below, which is a screenshot from Google’s website showing a mock

   up of the navigation display for Google Maps, which is included with the Galaxy S10. The blue arrow

   indicates the current location of the device and the blue line identifies the route to the destination along

   a road. Further, “12min” indicates the time remaining to the destination, and “5.1 mi • 12:42 PM”

   indicates the distance to the destination in miles and estimated time of arrival at the destination.




                              Figure 4 - Google Maps navigation display

55. The Galaxy S10 uses a display device or a speaker, wherein the display device displays information

   regarding the travel route or the speaker provides audio information regarding the travel route.

56. See Figure 1, reproduced below, showing the display of the Galaxy S10.




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                                   Figure 1 - Samsung’s Galaxy S10

57. See also Figure 4, reproduced below, which is a screenshot from Google’s website showing a mock

   up of the navigation display for Google Maps, which is included with the Galaxy S10. The blue arrow

   indicates the current location of the device and the blue line identifies the route to the destination along

   a road. Further, “12min” indicates the time remaining to the destination, and “5.1 mi • 12:42 PM”

   indicates the distance to the destination in miles and estimated time of arrival at the destination.




                              Figure 4 - Google Maps navigation display




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58. The Galaxy S10 uses a receiver, wherein the receiver receives traffic information or information

   regarding a traffic condition, wherein the traffic information or the information regarding a traffic

   condition is transmitted from a computer, a transmitter, or a device, located at a location remote from

   the vehicle.

59. See Figure 6, reproduced below, which is a screenshot from Google’s website showing a mock up of

   the navigation display for Google Maps, which is included with the Galaxy S10. Google Maps is

   described as providing “Real-time traffic updates” and the mock up of the navigation display shows

   traffic information being displayed at the bottom of the device display. The device running the Google

   Maps application, such as the Galaxy S10, must necessarily include a receiver for receiving real-time

   traffic information.




                              Figure 6 - Google Maps navigation display

60. The Galaxy S10 provides the traffic information or the information regarding a traffic condition at the

   vehicle via the display device or via the speaker.




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61. See Figure 1, reproduced below, showing the display of the Galaxy S10.




                                  Figure 1 - Samsung’s Galaxy S10
62. See also Figure 6, reproduced below, which is a screenshot from Google’s website showing a mock up

   of the navigation display for Google Maps, which is included with the Galaxy S10. Google Maps is

   described as providing “Real-time traffic updates” and the mock up of the navigation display shows

   traffic information being displayed at the bottom of the device display.




                             Figure 6 - Google Maps navigation display




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   63. By way of another example, the Accused Instrumentalities infringe Claims 61 of the ’136 Patent

      by use of an apparatus that “receives maintenance information associated with the travel route or

      maintenance information associated with a second travel route to the destination, and further

      wherein the apparatus provides the maintenance information associated with the travel route or

      the maintenance information associated with the second travel route.”

   64. See Figure 7, reproduced below, which is a screenshot from Google’s website explaining the

      meaning of various visual symbols used in the Google Maps application. The visual symbols

      include symbols indication “road closures” and “construction,” both of which can be considered

      “maintenance information.” Figure 7 also indicates that “[f]or road closures, you’ll find a dotted

      red line where the road is closed.” These symbols are visually displayed on the map that is

      displayed on the display device of the Accused Instrumentalities.




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                           Figure 78 - Visual Symbols in the Google Maps Application




8
    https://support.google.com/maps/answer/3092439?hl=en&ref_topic=3093390 – 2/5/20


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                                         PRAYER FOR RELIEF

               WHEREFORE, NavBlazer respectfully requests the Court enter judgment against

      Defendant:

1.    Declaring that Samsung has infringed each of the Patents-in-Suit;

2.    Awarding NavBlazer its damages suffered as a result of Apple’s infringement of the Patents-in-

      Suit;

3.    Awarding NavBlazer its costs, attorneys’ fees, expenses, and interest;

4.    Awarding NavBlazer ongoing post-trial royalties; and

5.    Granting NavBlazer such further relief as the Court finds appropriate.



                                         JURY DEMAND

      NavBlazer demands trial by jury, under Fed. R. Civ. P. 38.




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Dated: February 5, 2020                      Respectfully Submitted
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                                             sfuller@ghiplaw.com
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